        Case 1:21-cr-00582-CRC Document 103 Filed 04/26/22 Page 1 of 25




                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA,

                       Plaintiff,

       v.                                            Criminal Case No. 21-582 (CRC)
MICHAEL A. SUSSMANN,

                       Defendant.


  NON-PARTY FUSION GPS’S OPPOSITION TO GOVERNMENT’S MOTION TO
COMPEL THE PRODUCTION OF PURPORTED PRIVILEGED COMMUNICATIONS
             FOR IN CAMERA INSPECTION BY THE COURT

       Non-party Fusion GPS (“Fusion”) began responding to the Government’s Grand Jury

subpoena almost one year ago, withholding certain documents protected by the attorney-client

privilege and work product protections because they are related to its work at the direction of the

law firm Perkins Coie. Now, mere weeks before trial, the Government for the first time “raise[s]

questions concerning the validity, scope, and extent of [those] privilege assertions” before this

Court. Mot. at 1. The Government, however, fails to set forth a valid basis for its request to

compel in camera inspection of these documents by this Court.

       The Court should dismiss this Motion as procedurally improper for the reasons set forth in

the Defendant’s opposition. The Court should also dismiss the Government’s eleventh-hour

attempt to pierce the privilege of non-parties over documents that the Government has not even

attempted to show are relevant to the Indictment.

       Finally, the Court should deny the motion for in camera inspection of the documents

because it is evident based on the facts and the privilege log that the documents have properly been

withheld on grounds of privilege and attorney work product, so there is an insufficient showing to




                                                 1
         Case 1:21-cr-00582-CRC Document 103 Filed 04/26/22 Page 2 of 25




justify the use of judicial resources to review the individual documents. N.L.R.B. v. Jackson Hosp.

Corp., 257 F.R.D. 302, 307 (D.D.C. 2009).

         The Government has long been aware that Fusion’s work for the law firm Perkins Coie is

privileged. In April 2016, Fusion was retained by then-partner Marc Elias at Perkins Coie LLP to

assist in providing legal advice to its clients, the Hillary for America Campaign Committee, Inc.

(“HFA”) and the Democratic National Committee (“DNC”), during the 2016 presidential

campaign. Elias retained Fusion expressly to support his legal advice related to “defamation, libel,

and similar laws in which accuracy is an essential element,” and the retention specifically

contemplated the need for such advice for potential and ongoing litigation that could emerge

against Perkins’ clients based on their public statements about then-candidate Trump. Elias Decl.

¶ 11.1    Elias had a subjectively (and objectively) reasonable concern about Mr. Trump’s

litigiousness given his numerous threats of and actual litigation against his critics. Levy Decl. ¶

19; Elias Decl. 5–7. Indeed, that concern was prescient, with Mr. Trump having recently launched

litigation seeking tens of millions of dollars against every interested party here (including Fusion,

Perkins, DNC, HFA, Mr. Sussmann, Mr. Elias, Mr. Joffe and scores of others), and Alfa Bank

embarking on scorched-earth tactics against these parties and others (before it voluntarily

withdrew its claims following the significant sanctions against it related to Russia’s conduct in the

Ukraine). See, e.g., Trump v. Clinton, No. 2:22-cv-14102 (S.D. Fla. 2022); AO Alfa-Bank v. John

Doe, Case No. 2021 CA 000683 2 (D.C. Super. Ct. 2021); AO Alfa-Bank v. John Doe, Case No.

50-2020-CA-006304-XXXX-MB (Fla. Circuit Ct. 2020); AO Alfa-Bank v. John Doe, Case No.

CI-20-04003 (Pa. Ct. Comm. Pl. 2020).


 1
     HFA and DNC have concurrently moved to file the declarations of Marc Elias, John Podesta,
     and Robby Mook with the Court. These declarations will be referred to as “Elias Decl.,”
     “Podesta Decl.,” and “Mook Decl.,” respectively.


                                                 2
        Case 1:21-cr-00582-CRC Document 103 Filed 04/26/22 Page 3 of 25




       The Government attempts to characterize Fusion’s work as opposition research and media

outreach, rather than privileged investigative work and analysis. But it is not a binary choice

between opposition research or privileged investigative work protected by the attorney work

product doctrine. In navigating highly sensitive and complex facts related to an opposition

candidate who was famously litigious, Elias retained Fusion on behalf of Perkins to assist as an

expert investigative consultant, following a well-established path repeatedly endorsed and

accepted by numerous courts, by which expert consultants can assist counsel. In these situations,

the consultant’s work is treated as an extension of counsel’s work—and thus subject to privilege

and work product protections. See United States v. Nobles, 422 U.S. 225, 238–39 (1975) (work-

product protection extends to attorney’s “investigators”); United States v. Kovel, 296 F.2d 918,

922 (2d Cir. 1961) (extending attorney-client privilege to include accounting firm retained by

attorney). The Government’s attempt to argue for broad subject-matter waiver of this privilege,

without pointing either to any specific disclosure of privileged communications by the privilege

holders, or to a rationale for imposing broad waiver on the basis of any purported limited

disclosures, should not be countenanced. Fusion has continuously asserted and maintained

privilege claims at the direction of the privilege holders over documents and testimony regarding

the work that Fusion performed for Perkins in 2016.

       The Government also misses the mark with respect to communications between Rodney

Joffe, Fusion employee Laura Seago, and the Defendant Michael Sussmann, who was Joffe’s

attorney. Communications between Seago and Joffe were part of Fusion’s protected investigative

work and thus are protected work product. Moreover, the clients—HFA, DNC, and Joffe—had a

shared interest in determining the legal risks and implications associated with potentially explosive




                                                 3
         Case 1:21-cr-00582-CRC Document 103 Filed 04/26/22 Page 4 of 25




 information related to Mr. Trump. All parties have consistently treated their communications as

 privileged and confidential, and so no privilege has been waived.

        The Government has failed to show that Fusion’s claims of privilege are deficient or that

 the documents properly listed in Fusion’s privilege log warrant in camera review. Accordingly,

 and for the reasons explained more fully below, the Court should deny the Government’s Motion.

                                         BACKGROUND

I.      Fusion’s Role in Assisting Perkins Coie’s Provision of Legal Advice During the 2016
        Campaign

        In April 2015, the law firm Perkins Coie was retained by HFA, the principal campaign

 committee of Secretary Hillary Clinton’s 2016 presidential campaign, to serve as its General

 Counsel. Elias Decl. ¶ 3; Mook Decl. ¶ 3. Marc Elias, then a partner at Perkins Coie, served as

 the client lead for HFA and held the campaign title General Counsel. Id. The terms of this

 engagement included, among other things, “legal counseling and representation of [HFA] in

 connection to its legal affairs, including Federal Election Commission and other regulatory

 requirements and general organizational and compliance matters.” Id. Elias also served as outside

 General Counsel for the DNC from 2009 until September 2021. Elias Decl. ¶ 4. This engagement

 included legal counseling and representation of DNC in connection with Federal Election

 Commission and other regulatory requirements and general organizational and compliance

 matters. Id. Perkins Coie—like many firms who serve as counsel for political committees—

 routinely advised HFA and DNC on client advertisements and public statements both before and

 after publication to ensure compliance with applicable campaign finance, defamation, copyright,

 and political broadcasting laws, rules, and regulations. Elias Decl. ¶ 5.

        By April 2016, it was clear that Donald Trump would be the Republican Presidential

 nominee. Mr. Trump had a complex business and litigation history that was and would continue



                                                  4
         Case 1:21-cr-00582-CRC Document 103 Filed 04/26/22 Page 5 of 25




to be subject to intense media scrutiny.2 Mr. Trump also had a history of being litigious, of which

Mr. Elias was well aware.3 Mr. Trump, in fact, had already threatened to sue numerous, diverse

parties for statements and advertisements made during the 2016 election cycle.4 Moreover, as the

presidential campaign heated up, it was publicly reported that DNC had been hacked by Russia,

and that stolen materials were being publicly disseminated in a manner that appeared to assist then-

candidate Trump. Elias Decl. ¶ 13. Then-candidate Trump was also calling for Russia to take

action to release Clinton’s emails.5 Elias understood the litigation risk from statements made by

HFA and DNC about Mr. Trump was real and that he would need to be prepared to advise them

on such issues as they emerged in the campaign. See Elias Decl. ¶¶ 11–12, 16; see also Mook

Decl. ¶ 6.

        While both DNC and HFA had their own internal research and communications staff, Elias

Decl. ¶ 8, Elias needed an expert consultant with expertise in obtaining and evaluating public

record documents to assist him in providing legal advice. Elias Decl. ¶ 10–12; Levy Decl. Ex. 1


 2
     See, e.g., Levy Decl. Ex. 1 at 18 (Elias HPSCI Interview Transcript) (Elias stating Trump “had
     a history of being quite litigious”); Elias Decl. ¶ 6–7.
 3
     See, e.g., Levy Decl. Ex. 2 (Donald Trump Settled a Real Estate Lawsuit, and a Criminal Case
     Was Closed, N. Y. TIMES) (Apr. 5, 2016); Levy Decl. Ex. 3 (Trump Suit Claiming Defamation
     Is Dismissed, N.Y. TIMES) (July 15, 2009) (detailing Mr. Trump’s defamation suit against
     author reporting his wealth was only “$150 million to $250 million,” not billions).
 4
     See, e.g., Levy Decl. Ex. 4 (Donald Trump Threatens to Sue Club for Growth Over Ad
     Campaign, N.Y. TIMES) (Sep. 22, 2015) (discussing letter send by Mr. Trump’s lawyer over
     ads asserting Trump would raise taxes); Levy Decl. Ex. 5 (Trump lawsuit aims to set record
     straight on where he slept in Las Vegas, LAS VEGAS SUN) (Oct. 29, 2015) (describing Mr.
     Trump’s lawsuit over a flyer about where Trump slept during a campaign stop); Levy Decl.
     Ex. 6 (Trump threatens top Bush donor with defamation suit over ‘hater’ ads, POLITICO) (Dec.
     7, 2015) (outlining letter sent by Mr. Trump's lawyer over ads which called Mr. Trump a
     "hater" and "narcissistic [bully]"); Levy Decl. Ex. 7 (Exclusive: Trump’s 3,500 lawsuits
     unprecedented for a presidential nominee, USA TODAY) (June 1, 2016) (reporting that Mr.
     Trump or one of his organizations had filed 1,900 lawsuits as of mid-2016).
 5
     See, e.g., Levy Decl. Ex. 8 (Donald Trump Calls on Russia to Find Hillary Clinton’s Missing
     Emails, N.Y. TIMES (July 27, 2016)).


                                                 5
              Case 1:21-cr-00582-CRC Document 103 Filed 04/26/22 Page 6 of 25




  at 21–22. In April 2016, Elias retained Fusion on behalf of Perkins for the express purpose of

  obtaining expert consultant services to aid in the “provision of legal advice” related to “defamation,

  libel, and similar laws in which accuracy is an essential legal element.” Mot. Ex. C at 1; Elias Decl.

  ¶ 11. The engagement specifically contemplated Fusion’s role of providing “public record

  information and strategy” to Perkins Coie such that it could advise its clients on potential and

  actual litigation, which in the course of the 2016 campaign involved advertisements and statements

  regarding then-candidate Donald Trump. Mot. Ex. C; see also Elias Decl. ¶ 11.

             Law firms regularly hire investigative firms such as Fusion in anticipation of litigation and

  in furtherance of providing legal advice.6 Elias served as the primary point of contact for Fusion,

  and he provided direction on the research and information he needed to provide legal advice to

  HFA and DNC. Elias Decl. ¶ 12. He oversaw Fusion’s work and was in regular contact with

  Fusion throughout the engagement. See Levy Decl. Ex. 1 at 46–52 (Elias “would tell Fusion GPS

  what to explore in their investigation” and engaged Fusion “to help [him] be smarter so that there

  was information [he] could pass along to the client, some of which would be distilled and

  incorporated into other judgments [he] had about legal issues.” Id. (Elias communicated with

  Fusion “weekly,” on average).

II.          Fusion’s Response to the Government’s Grand Jury Subpoenas

             On September 16, 2021, the Government indicted Defendant Michael Sussmann on a

  single count of making a materially false statement to the Government. In particular, the

  Government alleges that Sussmann “stated to the General Counsel of the FBI that he was not acting



      6
          As Fusion’s co-founder, Glenn Simpson, stated under oath, Fusion’s clients were mostly
          “corporate clients and banks and large law firms,” including work regarding “high-dollar
          litigation”—and its typical engagements were not for election-related purposes. Levy Decl.
          Ex. 9 at 6–7.


                                                      6
          Case 1:21-cr-00582-CRC Document 103 Filed 04/26/22 Page 7 of 25




on behalf of any client in conveying particular allegations concerning a Presidential candidate,

when in truth, and in fact, . . . he was acting on behalf of specific clients.” Indictment ¶ 46.

          In March and July 2021, the Government served grand jury subpoenas on Fusion,

requesting materials related to the Trump-Alfa Bank allegations, use of certain Russian phones by

Mr. Trump or affiliated individuals, and documents related to Fusion’s retention by DNC and

HFA. Mot. at 3. As the Government concedes, Fusion complied with the subpoenas and produced

documents on a rolling basis.7 On April 22, 2021, August 26, 2021, January 10, 2022, and March

11, 2022, Fusion also produced privilege logs of withheld, responsive documents that were

protected by the attorney-client privilege and attorney work product protection. Levy Decl. ¶¶ 17–

18. The majority of the documents at issue in the Government’s Motion were identified in

privilege logs by August 2021; the Government has also been in possession of the Perkins Coie-

Fusion engagement letter since June 18, 2021.

          Almost a year after Fusion’s initial production, the Government moves to compel review

of the Perkins-Fusion engagement letter and 38 emails and attachments listed on Fusion’s privilege

log—produced in response to a grand jury subpoena—in an explicit attempt to use these materials

for trial evidence. The Court should deny the Government’s eleventh-hour Motion to further

burden Fusion and other non-party privilege holders on whose behalf Fusion asserted privilege

claims.




 7
     In addition to Fusion, Perkins Coie, HFA, DNC and others also received grand jury subpoenas,
     with which they complied by producing responsive non-privileged documents and privilege
     logs. See, e.g., Non-Party Perkins Coie’s Response to Government’s Motion to Compel.


                                                  7
             Case 1:21-cr-00582-CRC Document 103 Filed 04/26/22 Page 8 of 25




                                        LEGAL STANDARD

            “[W]hen a grand jury issues a valid subpoena for documents, they must be produced unless

 protected by a recognized privilege.” In re Sealed Case, 676 F.2d 793, 807 (D.C. Cir. 1982).8 If

 the documents are privileged, “they need not be produced unless the privileged relation from which

 they derive was entered into or used for corrupt purposes or unless an ‘objective consideration’ of

 fairness requires disclosure to prevent undue manipulation of the privilege.” Id. at 807–08. Where

 in camera inspection is requested, the Court need not use scarce judicial resources to review

 individual documents if from the facts and the privilege log there is a sufficient basis for finding

 that the documents were properly withheld on grounds of privilege. Jackson Hosp. Corp., 257

 F.R.D. at 307. And “[c]aution and the need to eliminate even the potential for prejudice to the

 holder of the privilege, require that in camera inspection never be any greater than absolutely

 necessary.” Id.

                                             ARGUMENT

            The documents the Government seeks to compel were created as part of the work Fusion

 performed in support of Perkins’s legal representation of HFA and DNC, which is protected by

 both work-product protection and the attorney-client privilege. The government has made no

 showing that in camera review of these privileged documents is “absolutely necessary.” Jackson

 Hosp. Corp., 257 F.R.D. at 307.

I.          Fusion’s Work for Perkins is Protected by the Attorney Work Product Doctrine

            The work-product doctrine protects material prepared by an attorney’s “investigators and

 other agents,” if prepared in anticipation of litigation. U.S. v. Nobles, 422 U.S. 225, 238–39 (1975).




     8
         Fusion joins in the arguments in Mr. Sussmann’s brief that the Government’s motion is
         procedurally improper.


                                                   8
        Case 1:21-cr-00582-CRC Document 103 Filed 04/26/22 Page 9 of 25




Work product encompasses both the “opinions, judgments, and thought processes” of attorneys

and their agents—such as documents containing analysis of law or fact—as well as facts and other

materials obtained or prepared by counsel or their agents. In re Sealed Case, 676 F.2d 793, 809–

10 (D.C. Cir. 1982); see also Alexander v. F.B.I., 198 F.R.D. 306, 313 (D.D.C. 2000) (notes made

from witness interviews are protected work product). The work-product doctrine applies if, in

light of the “factual situation in the particular case,” the information “can fairly be said to have

been prepared or obtained because of the prospect of litigation.” United States v. Deloitte LLP,

610 F.3d 129, 137 (D.C. Cir. 2010) (quotation omitted). The party asserting protection over

information “must have ‘had a subjective belief that litigation was a real possibility,’ and that belief

must have been ‘objectively reasonable.’” Nat’l Ass’n of Crim. Def. Lawyers v. Dep’t of Justice

Exec. Office for U.S. Att’ys, 844 F.3d 246, 251 (D.C. Cir. 2016) (quoting In re Sealed Case, 146

F.3d 881, 884 (D.C. Cir. 1998)). The Government challenges the privilege claims made over all

38 documents in Exhibit A. Because Fusion’s work for Perkins in 2016, reflected in the documents

at issue, was undertaken because of an objectively reasonable belief that litigation was a real

possibility, and such work would not have occurred if not for that anticipated litigation, the

privilege claims over the logged documents are valid.

        A.      Fusion’s Work is Protected by the Work-Product Doctrine Because Perkins
                Reasonably Anticipated Litigation.

        The Government does not argue (nor could it) that Elias did not reasonably anticipate that

statements by HFA and DNC during the 2016 election campaign regarding then-candidate Trump

might result in defamation-like claims or other litigation. See Elias Decl. ¶¶ 6, 12, 17–18. It is

well-established that counsel need not have a specific case in mind, so long as there is a reasonable

anticipation of future litigation. See, e.g., In re Sealed Case, 676 F.2d 793, 809 (D.C. Cir. 1982)

(work product protection attaches “provided that the work was done with an eye toward litigation”



                                                   9
        Case 1:21-cr-00582-CRC Document 103 Filed 04/26/22 Page 10 of 25




(quotation omitted)). Indeed, as the D.C. Circuit has recognized, “[i]t is often prior to the

emergence of specific claims that lawyers are best equipped either to help clients avoid litigation

or to strengthen available defenses should litigation occur.” In re Sealed Case, 146 F.3d at 886

(emphasis added). Much like in In re Sealed Case, where the D.C. Circuit upheld a work-product

claim by an attorney advising the Republican National Committee with respect to a politically

charged financial transaction, in 2016 there was “intense focus” and “public criticism,” id.,

regarding Mr. Trump’s various prior litigations and known litigiousness, as well as regarding a

potential relationship with Russia and other financial entanglements. It was therefore “objectively

reasonable” for Perkins, on behalf of HFA and DNC, to anticipate the legal need to understand the

factual accuracy of these issues, in anticipation of potential litigation arising from their statements

regarding Mr. Trump, generally, as well as specifically with regard to information regarding

alleged links to Russia.

        B.      Fusion’s Work Was Performed in the Anticipation of Litigation.

        Elias retained Fusion because of these well-founded concerns. Elias Decl. ¶¶ 6–7,11. The

“primary object,” In re Sealed Case, 146 F.3d at 884, of Fusion’s engagement and work at the

direction of Elias, was assisting Perkins in protecting its clients in anticipated litigation. E.g., Mot.

Ex. C at 1; Elias Decl. ¶ 12; Levy Decl. Ex. 1 at 46 (Elias provided legal advice, including whether

allegations made in a campaign ad “may run afoul or run the risk of civil litigation” and he engaged

Fusion to provide information that would be “incorporated into [his] judgments . . . about legal

issues”).

        Fusion’s relationship with Perkins in 2016 confirms that Fusion’s work was not to generate

opposition research materials for public dissemination, Mot. at 6, but rather to provide

investigative services in support of Perkins’s representation of HFA and DNC. Elias Decl. ¶ 12.

Importantly, both HFA and DNC maintained their own separate, large research staffs whose


                                                   10
        Case 1:21-cr-00582-CRC Document 103 Filed 04/26/22 Page 11 of 25




responsibility was to research then-candidate Trump. Elias Decl. ¶ 8. In contrast, Elias engaged

Fusion and he was Fusion’s point of contact for its work; Elias directed Fusion’s work to research

and investigate highly sensitive issues about which the campaigns might make public statements,

anticipating litigation could ensue. See Elias Decl. ¶¶ 11–12. The withheld documents and

internal communications at issue are squarely within the “zone of privacy” afforded to Fusion,

Perkins’s investigative agent, and its analysis related to then-candidate Trump. Nat’l Ass’n of

Crim. Def. Lawyers, 844 F.3d at 251 (work product protection provides attorneys and agents “with

a ‘zone of privacy’ within which to think, plan, weigh facts and evidence, candidly evaluate a

client’s case, and prepare legal theories”); Nobles, 422 U.S. at 238 (work-product doctrine protects

internal communications and “material prepared by agents for the attorney”).

       That Fusion or its subcontractor communicated with reporters generally regarding the

allegations that Mr. Trump was secretly communicating with a Russian bank, Mot. at 13, does not

render the investigative analysis it conducted non-work product, just as the public filing of a legal

brief (or an interview on the courthouse steps) does not mean a lawyer’s confidential advice to a

client or internal files suddenly lose their protection. Cf. Alexander v. F.B.I., 198 F.R.D. 306, 315

(D.D.C. 2000) (“It cannot be the law that a subsequent [communication], inspired by confidential

communications but not revealing any confidential information, would waive privilege.”). The

Government’s reliance on public, non-privileged actions by Fusion, such as communicating with

reporters about facts surfaced in its investigation, to argue that none of its work is privileged, Mot.

11–13, is misplaced. As the D.C. Circuit has instructed, “material generated in anticipation of

litigation may also be used for ordinary business purposes without losing its protected status,” and

work product can “serve[] multiple purposes, so long as the protected material was prepared

because of the prospect of litigation.” Deloitte LLP, 610 F.3d at 138.




                                                  11
        Case 1:21-cr-00582-CRC Document 103 Filed 04/26/22 Page 12 of 25




       Fusion was operating as an investigative researcher to help Elias provide legal advice, not

as HFA or DNC’s opposition researcher, and the evidence demonstrates the unique role it played.

See, e.g., Elias Decl. ¶¶ 11–12. That Fusion’s investigative work may have involved research

regarding an opposition candidate does not mean that it was not done to assist Perkins in providing

legal services and advice to its clients. To deny work-product protection in this case would

discourage lawyers from engaging experts needed to provide effective legal advice in complex

matters, all of which is “critical to effective legal thinking”––particularly in representing political

candidates who, unfortunately, must operate in an atmosphere of legal peril. In re Sealed Case,

146 F.3d at 886 (citing Hickman v. Taylor, 329 U.S. 495, 511 (1947)).

       C.      The Government Has Not Made the Necessary Showing to Overcome Work
               Product Protection.

       Where a party seeks to overcome work product protection, it must show either that “it has

a substantial need for the materials to prepare its case and cannot, without undue hardship obtain

their substantial equivalent by other means” for fact work product, or make an “extraordinary

showing of necessity” to obtain opinion work product. F.T.C. v. Boehringer Ingelheim Pharms.,

Inc., 778 F.3d 142, 153 (D.C. Cir. 2015) (quotations omitted). The Government has attempted to

do neither. In support of its need for the documents, the Government simply states that it

“otherwise might seek to admit [the withheld documents] at trial,” Mot. at 2, and that it hopes to

“establish[] the appropriate bounds of trial testimony,” id. at 21. This is plainly insufficient under

even the less-stringent test for fact work product.

       A “moving party’s burden is generally met if it demonstrates that the materials are relevant

to the case, the materials have a unique value apart from those already in the movant’s possession,

and ‘special circumstances’ excuse the movant’s failure to obtain the requested materials itself.”

Boehringer Ingelheim Pharms., 778 F.3d at 155. The Government has not even attempted to show



                                                  12
         Case 1:21-cr-00582-CRC Document 103 Filed 04/26/22 Page 13 of 25




  that the documents at issue are relevant to its indictment of Mr. Sussmann for lying to the

  Government about whether he was representing a client when he met with the FBI General Counsel

  on September 19, 2016. Indeed, 19 of the documents post-date the meeting at issue. See Mot. Ex.

  A rows 12–30. Nor has the Government attempted to show that these privileged documents “have

  a unique value apart from” documents already in its possession. The Government fails to argue

  why it believes that (1) the privileged, withheld documents will provide it with information

  supporting its charge—that Sussmann lied about who he was representing in a meeting with the

  FBI—or that (2) it does not already have sufficient evidence to establish what such privileged

  documents purportedly would show.          Accordingly, the Government has shown neither a

  substantial need nor undue hardship for the withheld materials, and its bid to overcome work-

  product protection should be denied.

II.      Fusion’s Work for Perkins is Also Protected by the Attorney-Client Privilege

         The documents the Government seeks to compel fall well within the bounds of attorney

  work-product protection. However, the Government’s arguments against applying the Kovel

  doctrine to Fusion’s work also fail, because the purpose of Perkins’s engagement with Fusion was

  to facilitate the provision of legal advice to its clients. The attorney-client privilege protects

  “confidential communication between attorney and client, including by and to non-attorneys

  serving as agents of attorneys,” if made “for the purpose of obtaining or providing legal advice to

  the client.” In re Kellogg Brown & Root, Inc. (“KBR”), 756 F.3d 754, 757 (D.C. Cir. 2014). Under

  Kovel and its progeny, the attorney-client privilege extends to communications by third parties that

  an attorney hires to facilitate “the effective consultation between the client and the lawyer.” Kovel,

  296 F.2d at 922.

         Attorney-client privilege can also attach to “reports of third parties made at the request of

  the attorney or the client where the purpose of the report was to put in usable form information


                                                   13
       Case 1:21-cr-00582-CRC Document 103 Filed 04/26/22 Page 14 of 25




obtained from the client.” F.T.C. TRW, Inc., 628 F.2d 207, 212 (D.C. Cir. 1980). As the D.C.

Circuit recognized in adopting the Kovel doctrine, the doctrine helps “to preserve the effectiveness

of counsel in our legal system,” by allowing counsel to address increasingly complicated factual

issues that arise in the course of legal practice. Id. Courts have applied the Kovel doctrine to a

wide range of non-lawyers who assist counsel in providing legal services, “such as investigators,

interviewers, technical experts, accountants, physicians, patent agents, and other specialists in a

variety of social and physical sciences.” Gucci Am., Inc. v. Guess?, Inc., 271 F.R.D. 58, 71

(S.D.N.Y. 2010) (quotation omitted). Importantly, legal advice need not be the only purpose for

communications to nonetheless be protected by the attorney-client privilege: so long as “obtaining

or providing legal advice was one of the significant purposes” of the communications, the attorney-

client privilege applies. See KBR, 756 F.3d at 760.

       Here, the information that Fusion was hired to investigate was complicated, particularly as

it related to Russian connections to Mr. Trump, including but not limited to the DNS allegations

involving the Trump Organization and Alfa. This work was being done against the backdrop that

the DNC and at least one other democratic organization had been hacked by Russia—that is Russia

or entities working at its direction had infiltrated their servers and/or computers and stolen

voluminous materials. Elias Decl. ¶ 13.       Elias could not, without the assistance of expert

investigative analysis, understand the complex information that Fusion was hired to investigate.

See, e.g., Levy Decl. Ex. 1 at 22 (Elias hired Fusion “to be able to adequately understand th[e]

scope” of Trump’s entanglements “and be able to digest that and help make legal judgments that

would be relevant” to his clients). And without understanding the factual accuracy of such

material, Elias could not effectively provide legal advice to HFA and DNC regarding the legal

implications, including with regard to “the legal risks of speaking publicly,” involving highly




                                                14
       Case 1:21-cr-00582-CRC Document 103 Filed 04/26/22 Page 15 of 25




complex and sensitive information that was developing in the course of the 2016 Presidential

campaign. In re Grand Jury Subpoenas Dated March 24, 2003, 265 F. Supp. 2d 321, 330

(S.D.N.Y. 2003) (protecting PR firm communications under Kovel and explaining that advising

clients in legal jeopardy regarding their public statements was one of “the[] most fundamental

client functions” performed by lawyers).

       The cases relied on by the Government (at 14) are inapposite. In Calvin Klein Trademark

Trust v. Wachner, 198 F.R.D. 53 (S.D.N.Y. 2000), and Blumenthal v. Drudge, 186 F.R.D. 236

(D.D.C. 1999), the court found that Kovel was inapplicable because the consultants whose

documents were at issue were hired for the benefit of their own services “as opposed to enabling

counsel to understand aspects of the client’s own communications that could not otherwise be

appreciated in the rendering of legal advice.” Calvin Klein, 198 F.R.D. at 55. Here, by contrast,

Fusion has shown that its work was crucial to assisting Elias in understanding the facts and

assessing the legal implications of HFA and DNC’s possible statements regarding Mr. Trump and

others. See Elias Decl. ¶ 12, 16–17. Fusion’s engagement was explicitly for the purpose of

supporting the legal advice Perkins was providing to HFA and DNC “related to defamation, libel

and similar laws in which accuracy is an essential legal element.” Elias Decl. ¶ 11. Far from

“simply providing ordinary public relations advice,” Fusion’s investigative work enabled Elias to

understand the legal implications of communications from HFA and DNC and advise them

accordingly. See Elias Decl. ¶ 12. Moreover, courts have held that the privilege protects

consultants advising lawyers on matters other than information received directly from the client

such as “the state of public opinion in a community” or the impact of juror backgrounds. In re

Grand Jury Subpoenas, 265 F. Supp. 2d at 326.




                                               15
           Case 1:21-cr-00582-CRC Document 103 Filed 04/26/22 Page 16 of 25




           The Government’s argument (at 10) that providing such advice was outside the scope of

   Perkins’s engagements with HFA and DNC shows a misunderstanding of the role of legal advisers

   to political campaigns; providing this sort of legal advice to political clients is routine. Elias Decl.

   ¶ 5. Moreover, the argument that Fusion was conducting opposition research is beside the point.

   It is no different from saying that the accounting firm in Kovel was doing accounting work, not

   legal work. The question is not what work Fusion was doing, but whether Perkins, the attorney,

   was using it in furtherance of legal advice to its clients. Fusion has established that its work—

   whatever label is given to it—was to assist Perkins’s provision of legal advice to its clients. See

   Elias Decl. ¶ 11–12; 17–18. Fusion has therefore properly withheld the documents at issue

   pursuant to attorney-client privilege.

III.       There Has Been No Waiver

           The Government also argues in conclusory fashion that “even if a valid privilege did exist,”

   “any such privilege might since have been waived” by (1) Fusion employees publishing a book

   about the 2016 election, (2) Christopher Steele’s testimony in a foreign legal proceeding, (3)

   meetings between Fusion and Steele and reporters, and (4) a meeting between Steele and the FBI.

   Mot. at 15; see also id. at 11–13. But courts have repeatedly held that public disclosure does not

   “warrant[] a broad court-imposed subject matter waiver” over all internal communications on the

   same subject matter, and that any waiver should not be “broaden[ed] . . . beyond those matters

   actually revealed.” In re von Bulow, 828 F.2d 94, 103 (2d Cir. 1987); see also In re Sealed Case,

   676 F.2d at 809 n.54 (“Courts . . . retain discretion not to impose full waiver as to all

   communications made on the same subject matter where the client has merely disclosed a

   communication to a third party as opposed to making some use of it.”); Long v. Motion Picture

   Ass’n of Am., 2021 WL 5446278, at *6 (D.D.C. Nov. 22, 2021) (the court has the discretion to

   define subject-matter waiver narrowly); see also Fed. R. Evid. 502(a) (“waiver extends to an


                                                     16
        Case 1:21-cr-00582-CRC Document 103 Filed 04/26/22 Page 17 of 25




undisclosed communication or information . . . only if (1) the waiver is intentional; (2) the

disclosed and undisclosed communications or information concern the same subject matter; and

(3) they ought in fairness to be considered together”). The Government also fails to identify a

single instance in which the client authorized a disclosure of the information, which is necessary

to find waiver. See Nat’l Sec. Counselors v. CIA, 969 F.3d 406, 411–12 (D.C. Cir. 2020). The

Government’s attempt to argue for wholesale waiver of all privilege claims is extreme and

unsupported, and the Court should reject it.

        Moreover, even with regard to the supposed non-client disclosures the Government raises,

it has not shown that these alleged disclosures in fact disclosed privileged materials or

communications, a threshold requirement for waiver. In re Sealed Case, 676 F.2d at 818 (waiver

occurs “[w]hen a party reveals part of a privileged communication in order to gain an advantage

in litigation” (emphasis added)). First, the Government points to Crime in Progress, a book

published by two Fusion principals, Glenn Simpson and Peter Fritsch.           Mot. at 15.    The

Government contends that the book “describes in considerable detail [Fusion’s] internal

discussions and deliberations, including conversations with Campaign Lawyer-1.” Id. However,

the Government cites only two passages, neither of which discloses privileged information: The

first passage details a meeting with Elias before he engaged Fusion—i.e., prior to the privileged

relationship. Id. The second passage relied on by the Government to argue for broad subject-

matter waiver provides further detail on Steele’s meetings with reporters and other third parties,

but does not disclose any privileged information or communications.9 The Government does not



 9
     Moreover, the “notes on sources” section of Crime in Progress states: “The nature of our
     engagement with the law firm Perkins Coie prevents us from recounting our communications
     after we were retained. We described one meeting with Marc Elias that occurred before we
     were hired. Perkins has not released us from our obligations to keep our communications
                                                                         (Cont’d on next page)

                                               17
       Case 1:21-cr-00582-CRC Document 103 Filed 04/26/22 Page 18 of 25




point to a specific disclosure of privileged information in Crime in Progress; relying

indiscriminately on a 368-page book does not suffice to show a disclosure of privileged

information or support a broad waiver. See In re von Bulow, 828 F.2d at 102 (holding that

“extrajudicial disclosure [in a book] of an attorney-client communication—one not subsequently

used by the client in a judicial proceeding to his adversary’s prejudice—does not waive the

privilege as to the undisclosed portions of the communication”).

       Second, the Government details meetings and communications between Christopher Steele

and Fusion and reporters. Mot. at 11–13. The Government argues vaguely that Steele and Fusion

“communicated” about their “ongoing work” and “share[d] information” from their work but does

not allege or show that any specific privileged information or communications—as opposed to

non-privileged facts—were shared with these reporters.        Indeed, in the “[m]ost relevant”

communication the Government points to, a Fusion employee tells a reporter to report on the Alfa

Bank story. Id. at 12–13 (“do the [expletive] [Russian Bank-1] secret comms story”). The

Government does not explain how this email, or any of Fusion or Steele’s communications with

reporters, discloses any privileged information whatsoever.

       Third, the Government points to a meeting between Christopher Steele and the FBI in

which Steele “shared purported intelligence that he had collected” one month after being retained

by Fusion. Mot. at 11. Other than temporal proximity, the Government does not contend that

Steele was working solely with Fusion, or that he shared privileged information or

communications at all, let alone that he shared privileged information or communications obtained

in the course of his work with Fusion. Because the Government failed to show that these purported




   confidential, nor have other clients.” Glenn Simpson & Peter Fritsch, Crime in Progress 284
   (2019); see Levy Decl. ¶ 14.


                                               18
         Case 1:21-cr-00582-CRC Document 103 Filed 04/26/22 Page 19 of 25




disclosures actually disclosed privileged information, they cannot provide the basis for subject-

matter waiver.10

        Even if the Government has shown the disclosure of privileged information or

communications, its subject-matter waiver claim still fails because only clients can waive attorney-

client privilege, and the Government has not pointed to any waiver of any type—let alone broad

subject-matter waiver—by the clients. None of the alleged disclosures—communications by

Fusion and Steele with the media, Fritsch and Simpson’s book, Steele’s meetings with the FBI,

and Steele’s U.K. testimony—involve any communication or waiver by any client.11                    It is

“axiomatic that the attorney-client privilege is held by the client,” and therefore an attorney or

agent’s disclosure “is not treated as a waiver of the privilege.” Nat’l Sec. Counselors, 969 F.3d at

411–12 (quotations omitted). Similarly, while the ability to protect work product extends to both

clients and attorneys, and the client and attorney can waive it, each can do so “only as to himself.”

In re Doe, 662 F.3d 1074, 1079 (4th Cir. 1983). Neither HFA nor DNC ever authorized Fusion,

its employees, or Steele to waive privilege. See, e.g., Podesta Decl. ¶ 4. The Government cites no



10
     It is not clear whether the Government contends that Sussmann providing a non-privileged
     white paper to the FBI waived privilege over all internal drafts and communications related to
     that white paper, nor is it clear whether the white paper discussed by the Government is related
     to the documents in Exhibit A. See Mot. at 9–10. Regardless, it is black letter law that public
     disclosure of a final product, like a filing, does not waive privilege over the privileged
     communications and work product that led to the creation of the final product. See, e.g., Cause
     of Action Institute v. U.S. Dep’t of Justice, 330 F. Supp. 3d 336, 350 (D.D.C. 2018) (“Drafts
     of documents that are prepared with the assistance of counsel for release to a third party are
     protected under attorney-client privilege . . . even if the final draft is ultimately disclosed to a
     third party.” (internal quotation omitted)); W. Trails, Inc. v. Camp Coast to Coast, Inc., 139
     F.R.D. 4, 14 (D.D.C. 1991) (where communications “relating to preliminary drafts” of
     documents were intended to be kept confidential, those drafts are “protected under the
     attorney-client privilege”).
11
     In any event, Steele met with the FBI in July 2016 on his own to discuss what he had learned,
     without the knowledge or authorization of the privilege holders to disclose privileged
     information or otherwise waive the privilege.


                                                   19
        Case 1:21-cr-00582-CRC Document 103 Filed 04/26/22 Page 20 of 25




evidence to show any voluntary disclosure of—or authorization of the disclosure of—privileged

communications or documents by the clients, and so no waiver could have occurred either as to

protected work product or communications protected by the attorney-client privilege.

       Finally, the Government makes no showing that anyone (client or otherwise) made

selective disclosures of privileged information “to gain an advantage” in the underlying litigation,

as needed to make a finding that subject matter waiver occurred. In re Sealed Case, 676 F.2d at

818. The Government relies on purported disclosures made by Fusion and Steele that were not

made as part of this or any other litigation where the privilege holders sought “to use the disclosed

material for advantage in the litigation but to invoke the privilege to deny [their] adversary access

to additional materials that could provide an important context for proper understanding of the

privileged materials.” US Airline Pilots Ass’n v. Pension Ben. Guar. Corp., 274 F.R.D. 28, 32

(D.D.C. 2011) (quotation omitted).        The Government has not shown that these purported

disclosures are at all related to the documents in Exhibit A, let alone that this is one of the “unusual

situations in which fairness requires a further disclosure of related, protected information.”

Hughes v. Abell, 2012 WL 13054819, at *3 (D.D.C. Mar. 7, 2012) (quoting Fed. R. Evid. 502

explanatory note) (emphasis added).

       The Government’s reliance on United States v. All Assets Held at Bank Julius Baer & Co.,

315 F.R.D. 103 (D.D.C. 2016), is thus unavailing. In that case, the claimant argued that his request

for a private letter ruling (“PLR Request”) from the IRS should not be disclosed to the government

in an in rem asset forfeiture action. Id. at 105–106. The claimant contended that the PLR Request

(an inquiry regarding a taxpayer’s status) constituted opinion work product, and that disclosure to

the IRS did not waive work-product protection because the IRS was not his “adversary.” Id. at

106. The Court found that the claimant had waived protection over the PLR Request because he




                                                  20
          Case 1:21-cr-00582-CRC Document 103 Filed 04/26/22 Page 21 of 25




  disclosed the document to the IRS, “the very entity with whom he anticipated litigation.” Id. at

  114. The Government does not argue here that any disclosures by the clients were made of

  protected material to potential adversaries in litigation. “And because [work product protection]

  looks to the vitality of the adversary system rather than simply seeking to preserve confidentiality,

  the work product privilege is not automatically waived by any disclosure to a third party.” In re

  Sealed Case, 676 F.2d at 809.

          The Government argues for broad subject matter waiver but fails to address all of the case

  law holding that “the disclosure of privileged work-product information does not extend to other

  privileged information merely because they pertain to the [same] subject matter.” Trs. of Elec.

  Workers Local 26, 266 F.R.D. 1, 15 (D.D.C. 2010) (citing In re United Mine Workers of Am. Empl.

  Benefit Plans Litig., 159 F.R.D. 307, 311 (D.D.C. 1994)); see also Williams & Connolly v. S.E.C.,

  662 F.3d 1240, 1244 (D.C. Cir. 2011) (Disclosure “of some [work product] does not necessarily

  destroy” protection for all work product “of the same character” (quotation omitted)). There is no

  reason for this Court to entertain broad subject-matter waiver of privilege claims by non-parties at

  this stage.

IV.       Ms. Seago’s Communications with Mr. Joffe are Privileged

          The Government’s arguments regarding communications between Ms. Laura Seago, a

  Fusion employee, and Mr. Rodney Joffe are also erroneous. The Government moves to compel

  review of four emails and four attachments to those emails. The four emails between Ms. Seago,

  Mr. Joffe, and Mr. Sussmann are all expressly marked as “Privileged Client/Attorney

  Communication” in their subject lines. Ex. A. at 3. The Government argues that, based on entries

  in Fusion’s privilege log, “it does not appear that the[] emails solely between Tech Executive-1

  and the Investigative Firm Witness reflect confidential communications” and that “[a]ny

  confidentiality that Tech Executive-1 might have otherwise maintained” over communications


                                                   21
       Case 1:21-cr-00582-CRC Document 103 Filed 04/26/22 Page 22 of 25




with Sussmann “was waived when he and the defendant chose to disclose such information to a

third party that did not have any formal or informal contract or retention agreement with Tech

Executive-1.” Mot. at 19–20.

       As explained above, however, Ms. Seago’s communications with Mr. Joffe were part of

Fusion’s investigative work in anticipation of litigation and in support of Perkins’s provision of

legal advice to HFA and DNC. See supra pp. 8–13; Nobles, 422 U.S. at 238–39. Thus,

communications between Ms. Seago and Mr. Joffe are no different from other investigative work

by Fusion protected from disclosure under the work-product doctrine, and the Government does

not address why, even if the attorney-client privilege does not apply, the work-product doctrine

would not protect these communications.

       Furthermore, communications between Ms. Seago and Mr. Joffe are protected under the

common interest rule. Under that rule, individuals may share information with persons who share

a common interest (as was the case here) without waiving the attorney-client privilege if “(1) the

disclosure is made due to actual or anticipated litigation; (2) for the purpose of furthering a

common interest; and (3) the disclosure is made in a manner not inconsistent with maintaining

confidentiality against adverse parties.” Holland v. Island Creek Corp., 885 F. Supp. 4, 6 (D.D.C.

1995). Common-interest protection does not, as the Government insinuates, depend on the

existence of a joint-defense agreement. Mot. at 6–7. It has long been held that “‘common interests’

should not be construed as narrowly limited to co-parties.” United States v. Am. Tel. & Telegraph

Co., 642 F.2d 1285, 1299 (D.C. Cir. 1980); cf. Deloitte LLP, 610 F.3d at 141 (“reasonable

expectation of confidentiality may derive from common litigation interests” or may be “rooted in

a confidentiality agreement or similar arrangement”). The litigation risk associated with the

Trump-Alfa Bank allegations was obvious, and Mr. Joffe, HFA, and DNC all had common legal




                                                22
        Case 1:21-cr-00582-CRC Document 103 Filed 04/26/22 Page 23 of 25




interests in understanding the factual accuracy of that information and legal implications of

speaking about it. See Elias Decl. ¶¶ 14–18. Courts in this circuit have generally interpreted

common interest protection broadly, holding that “[s]o long as transferor and transferee anticipate

litigation against a common adversary on the same issue or issues, they have strong common

interests in sharing” privileged information. Am. Tel. & Telegraph Co., 642 F.2d at 1299.

Moreover, any disclosure of privileged information between Fusion and Mr. Joffe was consistent

with maintaining confidentiality with Mr. Joffe—all parties have consistently maintained their

privilege claims over the communications between the parties and have not disclosed them to any

possible adversaries, including the Government.12 Where, as here, all parties to communications

treat those communications as privileged and confidential and have a reasonable basis to believe

that the recipients of disclosed information will keep it confidential, it is not dispositive of the

privileged nature of those communications that the parties understood them to be privileged on

different bases. HFA, DNC, and Fusion had shared interests in preparing for possible litigation

based on the explosive information regarding Mr. Trump, even if the parties understood Fusion’s

role differently.   Accordingly, Fusion properly asserted privilege regarding Ms. Seago’s

communications involving Mr. Joffe and/or Mr. Sussmann.

                                         CONCLUSION

        For the foregoing reasons, Fusion respectfully requests that the Court deny the

Government’s Motion to Compel.




12
     The Government’s allegation that Fusion employees “shared information gained through”
     communications with Mr. Joffe “with others, including various members of the media,” Mot.
     at 21, is unsupported, and in any event untethered to the documents at issue in the
     Government’s motion.


                                                23
      Case 1:21-cr-00582-CRC Document 103 Filed 04/26/22 Page 24 of 25




                                   Respectfully submitted,
Dated: April 18, 2022



                                      /s/ Joshua A. Levy
                                   Joshua A. Levy (D.C. Bar No. 475108)
                                   Rachel M. Clattenburg (D.C. Bar No. 1018164)
                                   Kevin P. Crenny (D.C. Bar No. 1765044)
                                   LEVY FIRESTONE MUSE LLP
                                   1701 K St. NW, Suite 350
                                   Washington, DC 20006
                                   Tel: (202) 845-3215
                                   Fax: (202) 595-8253
                                   jal@levyfirestone.com
                                   rmc@levyfirestone.com
                                   eas@levyfirestone.com


                                   Counsel for Non-Party Fusion GPS




                                     24
       Case 1:21-cr-00582-CRC Document 103 Filed 04/26/22 Page 25 of 25




                                   CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on April 26, 2022, I electronically filed the foregoing

Opposition and accompanying Declaration and Exhibits using the CM/ECF System, which serves

a copy on all counsel of record.


                                                         /s/ Joshua A. Levy
                                                         Joshua A. Levy
